               Case 20-20099-rlj7                      Doc 28      Filed 07/09/21 Entered 07/09/21 10:48:01                                      Desc Main
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                                                            Form 1
                                        Individual Estate Property Record and Report                                                                       Page: 1

                                                         Asset Cases
Case No.:    20-20099                                                                        Trustee Name:        (631700) Kent Ries
Case Name:        RITE-PRODUCTS FAMILY, INC.                                                 Date Filed (f) or Converted (c): 03/17/2020 (f)
                                                                                             § 341(a) Meeting Date:         05/13/2020
For Period Ending:       07/09/2021                                                          Claims Bar Date:        08/11/2020

                                    1                                2                      3                        4                    5                    6

                           Asset Description                      Petition/         Estimated Net Value       Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)        Unscheduled        (Value Determined By          Abandoned        Received by the      Administered (FA)/
                                                                   Values                 Trustee,               OA=§554(a)           Estate            Gross Value of
                                                                                  Less Liens, Exemptions,         abandon.                             Remaining Assets
  Ref. #                                                                             and Other Costs)

    1       Checking account at Citizens Bank                             92.76                     92.76                                     19.79                         FA

    2       John Trenfield (Commercial real estate                   2,650.00                    2,650.00                                      0.00                         FA
            lease)

    3       Burns & Wilcox                                           3,156.69                    3,156.69                                     71.33                         FA

    4       Accounts Receivable                                          274.99                   274.99                                       0.00                         FA

    5       Accounts Receivable                                            0.00                      0.00                                      0.00                         FA

    6       Inventory                                             329,290.49                         0.00                                20,000.00                          FA

    7       Warehouse equipment                                    24,645.00                         0.00                                      0.00                         FA

    8       Signage                                                  4,319.00                        0.00                                      0.00                         FA

    9       Computers, Phone System, etc.                                  0.00                      0.00                                      0.00                         FA

   10       11750 I-27 South Amarillo, TX 79119                            0.00                      0.00                                      0.00                         FA

   11       Trademark: Ranch Rite                                          0.00                      0.00                                      0.00                         FA

   12       http://www.ranch-rite.com/                                     0.00                      0.00                                      0.00                         FA

   13       Ebay Stores                                                    0.00                      0.00                                      0.00                         FA

   14       Goodwill                                            1,199,000.00                         0.00                                      0.00                         FA

   15       TWC refund (u)                                                 0.00                      0.00                                      0.00                         FA

   16       Preference Litigation (u)                                      0.00                      0.00                                24,000.00                          FA

  16        Assets Totals (Excluding unknown values)        $1,563,428.93                       $6,174.44                             $44,091.12                      $0.00



Major Activities Affecting Case Closing:

                                Sale of inventory, including purchasers payment of property tax lien on same, remains in process. Purchaser
                                states it will pay tax claim in July, 2021.



Initial Projected Date Of Final Report (TFR): 12/31/2021                          Current Projected Date Of Final Report (TFR):               12/31/2021


                       07/09/2021                                                                 /s/Kent Ries
                           Date                                                                   Kent Ries
